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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form

              SOCIAL BICYCLES LLC d/b/a JUMP v.
Case Title: CITY OF CHICAGO DEPARTMENT                     Case Number: 1:19-cv-05253
              OF TRANSPORTATION; CITY OF
              CHICAGO

An appearance is hereby filed by the undersigned as attorney for:
SOCIAL BICYCLES LLC d/b/a JUMP

Attorney name (type or print): Suyash Agrawal

Firm: Massey & Gail LLP

Street address: 50 East Washington Street, Suite 400

City/State/Zip: Chicago, Illinois 60602

Bar ID Number: 6308343                                     Telephone Number: 312-283-1590
(See item 3 in instructions)

Email Address: sagrawal@masseygail.com

Are you acting as lead counsel in this case?                                         Yes           No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                           Yes           No

If this case reaches trial, will you act as the trial attorney?                      Yes           No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel" are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this $ourt an attorney must either be a member in good standing of this $ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 &.%.$#§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 8/2/2019

Attorney signature:            S/ Suyash Agrawal
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
